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                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

JOE FELDMAN, on behalf of himself and
all others similarly situated                                                                  PLAINTIFF


VS.                                      CASE NO. 4:08CV4140 JMM


TRAVELERS INDEMNITY COMPANY, ET AL..                                                       DEFENDANTS


                                                 ORDER

          The complaint in the above styled case was removed to the federal court on November 7, 2008.

The Court has been advised that this case has been settled in a separate action.

          IT IS THEREFORE ORDERED that the clerk administratively terminate the action in his

records, without prejudice to the right of the parties to reopen the proceedings for good cause shown.

Provided however, this case will not be reopened unless within 45 days of the final disposition of the

separate action an application to reopen is filed herein by one or more parties to this action. If no such

motion to reopen is filed within said 45 day period this order shall be deemed a dismissal of plaintiff’s

claims. This administrative closing of the case tolls any applicable statute of limitations to plaintiffs’

claims.

          Dated this 21    day of September, 2009.



                                                          James M. Moody
                                                          United States District Judge
